AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                       WESTERN DISTRICT OF MISSOURI

                    United States of America                             )
                               v.                                        )
                                                                         )      Case No.
                                                                         )
                              Defendant                                  )

                                        ORDER OF DETENTION PENDING TRIAL
                                                         Part I - Eligibility for Detention

      Upon the
                   Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                   Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                              Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
             (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                  (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                  § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                  (b) an offense for which the maximum sentence is life imprisonment or death; or
                  (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                  Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                  (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                  (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                  (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                  described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                  jurisdiction had existed, or a combination of such offenses; or
                  (e) any felony that is not otherwise a crime of violence but involves:
                  (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                  (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
             (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
             (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
             (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


                        Case 4:22-cr-00125-BP Document 326 Filed 07/21/22 Page 1 of 3                               Page 1 of 3
AO 472 (Rev. 11/16) Order of Detention Pending Trial

      B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
             (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
             (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
             (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
             (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
             imprisonment of 20 years or more is prescribed; or
             (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

      C. Conclusions Regarding Applicability of Any Presumption Established Above

                The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part III need not be completed.)

                OR

                The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                   Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

      By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
      the safety of any other person and the community.

      By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

            Weight of evidence against the defendant is strong
            Subject to lengthy period of incarceration if convicted
            Prior criminal history
            Participation in criminal activity while on probation, parole, or supervision
            History of violence or use of weapons
            History of alcohol or substance abuse
            Lack of stable employment
            Lack of stable residence
            Lack of financially responsible sureties


                        Case 4:22-cr-00125-BP Document 326 Filed 07/21/22 Page 2 of 3                                 Page 2 of 3
  AO 472 (Rev. 11/16) Order of Detention Pending Trial

              Lack of significant community or family ties to this district
              Significant family or other ties outside the United States
              Lack of legal status in the United States
              Subject to removal or deportation after serving any period of incarceration
              Prior failure to appear in court as ordered
              Prior attempt(s) to evade law enforcement
              Use of alias(es) or false documents
              Background information unknown or unverified
              Prior violations of probation, parole, or supervised release

 OTHER REASONS OR FURTHER EXPLANATION:




                                                   Part IV - Directions Regarding Detention

        The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government,
the person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.

       The correctional facility to which defendant is remanded is authorized to allow defendant to review electronic
discovery, independent of counsel, in accordance with the protocols established by the facility and the Offices of the
Federal Public Defender and United States Attorney, once defense counsel provides discovery via a secure storage device.
The defendant shall be allowed a minimum of two hours per week access to review electronic discovery until defense
counsel retrieves the storage device from the correctional facility.

        Upon receipt of written consent from counsel for the United States and counsel for the defendant, the United States
Marshal is authorized to temporarily transfer custody of the defendant to a federal law enforcement agency for the purpose
of furthering a legitimate law enforcement purpose or investigation. If custody of the defendant is temporarily transferred to
a federal law enforcement agency pursuant to this authority, then federal law enforcement agents of that agency shall be
present with the defendant at all times. Agents of the federal law enforcement agency to whom temporary custody of the
defendant is transferred shall be responsible for the safe and secure custody of the defendant, as well as the defendant's well-
being while in the temporary custody of that federal law enforcement agency.

         The defendant, whose custody is temporarily transferred pursuant to this authority, shall remain in the United States
Courthouse, 400 East 9th Street, Kansas City, Missouri, shall not be taken to another location, and shall be returned by the
federal law enforcement agency to the United States Marshals Service cell block no later than 5:00 p.m. on the day of the
temporary transfer.

 Date:
                                                                                United States Magistrate Judge


                                                                                                                      Page 3 of 3




                         Case 4:22-cr-00125-BP Document 326 Filed 07/21/22 Page 3 of 3
